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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 S.C., by her parent and next friend KARRIE
 CONLEY; K.C., by her parent and next friend
 KARRIE CONLEY; and R.H., by his parent
 and next friend MICHELE HUDAK, on                   Case No. 1:25-cv-10007
 behalf of themselves and all others similarly
 situated,


                       Plaintiff,


        vs.


 LUCY CALKINS; IRENE FOUNTAS; GAY
 SU PINNELL; RWPN, LLC, d/b/a THE
 READING & WRITING PROJECT AT
 MOSSFLOWER, LLC; BOARD OF
 TRUSTEES OF TEACHERS COLLEGE,
 COLUMBIA UNIVERSITY; FOUNTAS
 AND PINNELL, LLC; GREENWOOD
 PUBLISHING GROUP, LLC, d/b/a
 HEINEMANN PUBLISHING; and HMH
 EDUCATION CO.,
                       Defendants.


                       CORPORATE DISCLOSURE STATEMENT

        Pursuant to Fed. R. Civ. P. 7.1, the undersigned counsel for the Defendant, Fountas and
Pinnell, LLC (“F&P, LLC”), certifies that it is a Limited Liability Company founded pursuant to
the laws of the state of Ohio. F&P, LLC has one member, Gay Su Pinnell, who is domiciled in
the state of Ohio.
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                                                     Respectfully Submitted,

                                                     /s/ Javier F. Flores
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                                                     Counsel for Defendants, Irene Fountas,
                                                     Gay Su Pinnell and Fountas and Pinnell,
                                                     LLC.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2025, I electronically filed the foregoing with the Clerk

of Court using the ECF system and that a copy of the forgoing was served on Plaintiffs’ counsel

of record via electronic mail.



                                                             /s/ Javier F. Flores
                                                             Javier F. Flores




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